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                              EXHIBIT 2
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                                     May 31, 2018                                    1

 ·1· · · · · · IN THE UNITED STATES DISTRICT COURT

 ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

 ·3

 ·4

 ·5

 ·6
 · · · ·*****************************
 ·7· · ·ALEKSEJ GUBAREV, XBT HOLDING
 · · · ·S.A., AND WEBZILLA, INC.,
 ·8
 · · · · · · Plaintiffs,
 ·9
 · · · ·vs.· · · · · · · · · · · · · · · ·Case No.:
 10· · · · · · · · · · · · · · · · · · · ·1:17-cv-60426-UU
 · · · ·BUZZFEED, INC. AND BEN SMITH,
 11
 · · · · · · Defendants
 12· · ·*****************************

 13

 14· · · · · · · · · · · · CONFIDENTIAL

 15· · · · ·VIDEOTAPED DEPOSITION OF JEFFREY ANDERSON

 16· · · · · · · · · ·Thursday, May 31, 2018

 17· · · · · · · · · · · · ·10:12 a.m.

 18· · · · · · · · · · · · · Held at:

 19· · · · · · · · · Ciampa Fray-Witzer, LLP

 20· · · · · · · · · · · ·20 Park Plaza

 21· · · · · · · · · · · · · Suite 505

 22· · · · · · · · · ·Boston, Massachusetts

 23

 24· · · · · · Judith McGovern Williams, CSR, CRR
 · · · · · · · ·Registered Professional Reporter
 25


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                                     May 31, 2018                                  64

 ·1· · · · · ·A.· ·I mean that statement means that

 ·2· · · we're not making any claims there are not

 ·3· · · potentially other damage elements that we have

 ·4· · · not been asked to address.· It is just not to

 ·5· · · focus or limit it to XBT's lost business

 ·6· · · value.

 ·7· · · · · ·Q.· ·Okay.· Let me ask you, setting aside

 ·8· · · Mr. Gubarev personally, if you are valuing the

 ·9· · · entire business, right, the entire value of

 10· · · the business, what other damages could there

 11· · · be with respect to the business?

 12· · · · · ·A.· ·I don't know.

 13· · · · · ·Q.· ·Okay.· So you are not intending to

 14· · · offer any testimony on anything other than

 15· · · measuring the lost business value, setting

 16· · · aside the benefit to BuzzFeed?

 17· · · · · ·A.· ·And again unless new information

 18· · · comes up I'm asked to address something else,

 19· · · for right now this is all I'm -- this is all I

 20· · · have analyzed.

 21· · · · · ·Q.· ·Okay.· And in your estimate of

 22· · · business value, right, is an estimate for as

 23· · · an accountant would call it the consolidated

 24· · · company?· Is that fair?

 25· · · · · ·A.· ·It's a fair market value of XBT and


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 ·1· · · its subsidiaries.

 ·2· · · · · ·Q.· ·And all of its subsidiaries?· Right?

 ·3· · · · · ·A.· ·Correct.

 ·4· · · · · ·Q.· ·So you have not made any effort to

 ·5· · · apportion that market value by figuring out

 ·6· · · the market value of each subsidiary?· Is that

 ·7· · · fair?

 ·8· · · · · ·A.· ·I have not.

 ·9· · · · · ·Q.· ·Okay.· And you have not made any

 10· · · effort to calculate any business value for

 11· · · Webzilla, Inc. specifically?

 12· · · · · ·A.· ·I have not.

 13· · · · · ·Q.· ·Okay.· Is it -- would it also be

 14· · · accurate to say that you have not made any

 15· · · effort to determine how much of what you

 16· · · contend is lost business valuable should be

 17· · · attributed to BuzzFeed and how much should be

 18· · · attributed to Christopher Steele?

 19· · · · · · · · · ·MR. FRAY-WITZER:· Objection.

 20· · · · · ·A.· ·Business valuable?

 21· · · BY MR. SIEGEL:

 22· · · · · ·Q.· ·Back up.

 23· · · · · · · · Are you aware that XBT is also suing

 24· · · and· Mr. Gubarev and one of its European

 25· · · subsidiaries are suing Mr. Steele in London?


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 ·1· · · · · ·Q.· ·-- as of January of 2018?

 ·2· · · · · ·A.· ·My understanding was that this was

 ·3· · · -- this was not the case prior to the release

 ·4· · · of the dossier.

 ·5· · · · · ·Q.· ·No, no, no.· I'm not saying that.            I

 ·6· · · am saying do you have any understanding

 ·7· · · whether as of January 2018 --

 ·8· · · · · ·A.· ·Um-hmm.

 ·9· · · · · ·Q.· ·-- right, the kinds of questions

 10· · · that are being asked in this email are typical

 11· · · of the same scrutiny being applied by

 12· · · Webzilla's other sources of finance.

 13· · · · · ·A.· ·Yeah, I don't know.

 14· · · · · ·Q.· ·You don't know.· Okay.

 15· · · · · · · · Let me -- right.· These -- this

 16· · · particular email, right, relates to financing

 17· · · for Webzilla BV?· Right?

 18· · · · · · · · · ·(Pause.)

 19· · · · · · · · · ·(Witness viewing Exhibit 7.)

 20· · · · · ·A.· ·Correct.

 21· · · · · ·Q.· ·And Webzilla Limited?· Right?

 22· · · · · ·A.· ·Correct.

 23· · · · · ·Q.· ·Not Webzilla, Inc.?

 24· · · · · ·A.· ·Correct.

 25· · · · · ·Q.· ·Okay.· Does this email indicate to


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 ·1· · · · · · · · · · · · ·CERTIFICATE

 ·2· · · Commonwealth of Massachusetts

 ·3· · · Plymouth, ss.

 ·4

 ·5

 ·6· · · · · · · · ·I, Judith McGovern Williams, a

 ·7· · · Notary Public in and for the Commonwealth of

 ·8· · · Massachusetts, do hereby certify:

 ·9· · · · · · · · ·That JEFFREY ANDERSON, the witness

 10· · · whose deposition is hereinbefore set forth,

 11· · · was duly sworn by me and that such deposition

 12· · · is a true record of the testimony given by the

 13· · · said witness.

 14· · · · · · · · ·IN WITNESS WHEREOF, I have hereunto

 15· · · set my hand this 5th day of June, 2018.

 16

 17
 · · · · · · · · · · Judith McGovern Williams
 18· · · · · · ·Registered Professional Reporter
 · · · · · · · · · Certified Realtime Reporter
 19· · · · · · · · Certified LiveNote Reporter
 · · · · · · Certified Shorthand Reporter No. 130993
 20

 21
 · · · · My Commission expires:
 22
 · · · · April 19, 2024
 23

 24

 25


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